Case 9:16-cv-81871-KAM Document 568 Entered on FLSD Docket 12/05/2019 Page 1 of 2



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 16-81871-CIV-MARRA

  LAN LI, an individual, et al,

  Plaintiffs,

  vs.

  JOSEPH WALSH, an individual, et al,

  Defendants.
  _____________________________________/

                                               ORDER

          This cause is before the Court upon Plaintiffs’ Motion to Strike Defendant USREDA,

  LLC’s Answer and Affirmative Defenses (DE 561); Plaintiffs’ Motion to Strike Defendant South

  Atlantic Regional Center’s Answer and Affirmative Defenses (DE 562) and Plaintiffs’ Motion to

  Strike Defendant Palm House Hotel, LLLP’s Answer and Affirmative Defenses (DE 563). No

  responses to the Motions have been filed. The Court has carefully considered the Motions and is

  otherwise fully advised in the premises.

          Plaintiffs seek to strike the Answers of these three corporate Defendants on the basis that

  their counsel withdrew on May 23, 2019 and they have not yet obtained counsel to represent

  them. Their Answers were filed on November 19, 2018. (DE 380, 381, 382.)

          The Court denies these motions. All three Answers were filed when the corporate

  Defendants had counsel. Thus, the filings were properly made. Lack of counsel for a

  corporation may prevent that entity from further defending or prosecuting the action, but it does

  not invalidate actions taken when the entity was properly represented. Hence, the lack of counsel

  is not a basis to strike these Answers. The cases relied upon by Plaintiffs concerned corporations
Case 9:16-cv-81871-KAM Document 568 Entered on FLSD Docket 12/05/2019 Page 2 of 2



  that filed answers when the corporation did not have counsel. See, e.g., Steele v. Int'l Ass'n of

  Trauma & Addiction Counselors, Inc., No. 13-62077-CIV, 2015 WL 13777167, at *1 (S.D. Fla.

  Oct. 23, 2015).

         Accordingly, it is hereby ORDERED AND ADJUDGED that Plaintiffs’ Motion to

  Strike Defendant USREDA, LLC’s Answer and Affirmative Defenses (DE 561); Plaintiffs’

  Motion to Strike Defendant South Atlantic Regional Center’s Answer and Affirmative Defenses

  (DE 562) and Plaintiffs’ Motion to Strike Defendant Palm House Hotel, LLLP’s Answer and

  Affirmative Defenses (DE 563) are DENIED.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 5th day of December, 2019.

                                                ______________________________________
                                                KENNETH A. MARRA
                                                United States District Judge




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